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                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  TQ Delta, LLC,
               Plaintiff,

  v.                                         Civil Action No.: 2:21-CV-00310-JRG

  CommScope Holding Company, Inc., et al.,   JURY TRIAL DEMANDED
             Defendants.




                             TQ DELTA, LLC’S
          RESPONSE TO COMMSCOPE’S MOTION FOR PARTIAL SUMMARY
         JUDGMENT TO LIMIT DAMAGES BASED ON 35 U.S.C. § 286 (DKT. 340)
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 I.     INTRODUCTION

        The Court should deny Defendant’s Motion. TQ Delta’s damages model complies with

 Section 286. TQ Delta’s model accounts for the full scope of Defendant’s infringement during the

 damages period: both Defendant’s (1) direct infringement during the period (i.e., after August 13,

 2015) and its (2) indirect infringement—during the damages period—for products sold prior to

 August 13, 2015 that continued to be used by Defendant’s customers (and thus directly infringed).

 That Section 271 provides for different types of infringement does not “circumvent” Section 286.

 Mot. at 1. TQ Delta’s model simply accounts for all of Defendant’s infringement during the

 damages period, not just its acts of direct infringement. See, e.g., Sysmex Corp. v. Beckman

 Coulter, Inc., Civil Action No. 19-1642-JFB-CJB, 2022 U.S. Dist. LEXIS 97623, at *34 n.11 (D.

 Del. May 26, 2022) (denying summary judgment of no induced infringement because the patentee

 “seeks damages for acts of inducement that occurred after the damages period began to run,” even

 though the defendant sold the products prior to that date).

        While couched in terms of Section 286, Defendant’s motion is really a challenge to TQ

 Delta’s indirect infringement claim for pre-August 15, 2015 sales. And there is at least a genuine

 issue of material fact on that issue. As to the underlying direct infringement, there is substantial

 evidence that Defendant’s customers, such as AT&T, have used Defendant’s products—DSL

 modems with multi-year life spans that are supported with repairs and software updates—in the

 damages period, including those sold before August 13, 2015. That use is an infringing act under

 Section 271(a). There is likewise substantial evidence that Defendant, including after August 13,

 2015, committed acts of indirect infringement under of Section 271(b) and/or (c).

        Defendant’s chief complaint is an evidentiary one: that “everything TQ Delta relies on is

 circumstantial evidence.” Mot. at 6. That argument is legally flawed. “A patentee is entitled to

 rely on circumstantial evidence to establish infringement: ‘If [Defendant] is arguing that proof of


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 inducing infringement or direct infringement requires direct, as opposed to circumstantial

 evidence, we must disagree. It is hornbook law that direct evidence of a fact is not necessary.’”

 Tinnus Enters., LLC v. Telebrands Corp., 846 F.3d 1190, 1204 (Fed. Cir. 2017) (quoting

 Moleculon Research Corp. v. CBS, Inc., 793 F.2d 1261, 1272 (Fed. Cir. 1986)). In this case, the

 evidence illustrates that TQ Delta is entitled to have a jury hear all of its inducement claims.

 II.     RESPONSE TO STATEMENT OF ISSUES TO BE DECIDED BY THE COURT

         Whether there is sufficient evidence of a genuine issue of material fact for a jury to consider

 all of TQ Delta’s indirect infringement claims.

 III.    RESPONSE TO STATEMENT OF UNDISPUTED MATERIAL FACTS

        1.      Admitted.

        2.      Denied.

        3.      Admitted.

        4.      Admitted.

        5.      Denied.

        6.      Denied.

        7.      Denied.

        8.      Denied.

        9.      Denied.

        10.     Denied.

        11.     Admitted.

 IV.     APPLICABLE LAW

         This Court is familiar with the summary-judgment legal standards in the context of motions

 for summary judgment of no induced infringement. See, e.g., Allergan Sales, LLC v. Sandoz, Inc.,

 211 F. Supp. 3d 907, 914, 921–32 (E.D. Tex. 2016).




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 V.     ARGUMENT

        A.      There Is Sufficient Evidence Of Acts Of Direct Infringement By Defendant’s
                Customers

                1.     Defendant’s Customers Have Used The Products

        There is substantial evidence that Defendant’s DSL products sold prior to August 13, 2015

 were being used after that date. The first sales of the accused 5031, 5168, 5268, NVG589, and

 NVG599 products were in                    period, depending on the model. See Dkt. 340-2 at 11

 (Schedule A-2). Defendant designs its products for a                               . Baker Depo.

 (Exh. 1) at 25:3–26:11. The NVG589 and NVG599 products tended to have



                                 Id. at 26:1–11.




                                                                                            From

 this evidence, a reasonable jury could return a verdict of induced infringement.



                                                   3
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          Despite this evidence, Defendant claims that “TQ Delta has no evidence from which it can

 show that the service providers themselves used the DSL CPE products sold prior to 2015 during

 the post-2015 damages period,” speculates that all of the products could be “sitting in a warehouse

 or truck or in an end user’s home, unused in a box,” and argues that there is no evidence that the

 products “were ever provided to end-users.” Mot. at 8 (emphasis in original).1

          Defendant’s positions defy commonsense. They are also wrong. In addition to the

 evidence above, ample evidence supports TQ Delta’s claims, including documents Defendant

 withheld until the last days of fact discovery (and after the relevant depositions), 2 shows that units

 sold before August 15, 2015 remained deployed after that date.

          As one example, in a presentation containing June 2016 data Defendant (then known as

 ARRIS) identified approximately                                                                 at that

 time (the “Installed Base”) (COMMSCOPE068829 (attached as Exh. 4) at 25—




 1
     All emphases are supplied unless otherwise noted.
 2
   Fact discovery closed on August 19, 2022 after being extended four days. Dkt. No. 249. On
 August 15, CommScope had produced only 52,517 pages of documents. On the last two days of
 discovery (i.e., Aug. 18 and 19), CommScope produced 19,590 pages (37% more). After the close
 of fact discovery, CommScope has since produced an additional 56,541 pages.


                                                   4
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        According to own Defendant’s data, there were

                                    . See Dkt. 340-2 at 11 (Schedule A-2). Thus, it stands to reason

 that




         These numbers reflect a common-sense reality: if

                     that product will likely be in use a few years after the purchase.

        Indeed, even as recent as                     , Defendant’s internal presentations show that



                               (COMMSCOPE046235 (attached as Exh. 5) at 57).




        This evidence is also consistent with the deposition testimony about the products’ lifespan.



 3
  The document indicates that                                                                      .
 Defendant’s data shows that
     . See Dkt. 340-2 at 11 (Schedule A-2). The difference is over                        .


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 The last significant sales to       of the 5031, 5168, 5268, NVG589, and NVG599 appear to be

 from                . See Dkt. 340-2 at 11 (Schedule A-2). Five-plus years later,         of those

 devices are still deployed in          network—even though, according to Defendant,

                                  Baker Depo. (Exh. 1) at 80:1–19. Defendant’s claim that there is

 “no evidence” products sold before August 13, 2015 were used after August 13, 2015 is untrue.

                2.      Defendant’s Customers’ Use Was An Act Of Direct Infringement
                        Under Section 271(a)

        The use detailed above was an infringing “use” under Section 271(a). The asserted claims

 are system claims, and “to ‘use’ a system for purposes of infringement, a party must put the

 invention into service, i.e., control the system as a whole and obtain benefit from it.” Centillion

 Data Sys., LLC v. Qwest Communs. Int’l, 631 F.3d 1279, 1284 (Fed. Cir. 2011).

        Defendant’s customers put the invention into service, i.e., they controlled Defendant’s

 products as a whole in their networks and obtain the benefit from deploying those products. The

 end-users likewise use the connected products. As detailed above, Defendant’s own evidence

 shows that it was more likely than not that products sold prior to August 13, 2015 remained

 deployed after August 13, 2015. Putting those products into service was an infringing use.

        Defendant argues noninfringement because it claims that “the Accused Products can be,

 and in many cases are, used in non-DSL configurations” and there is no evidence that the products

 are deployed using a DSL service. Mot. at 8. This is legally irrelevant and factually incorrect.

        The Law. Defendant improperly rewrites TQ Delta’s system claims drawn to device

 capabilities as method claims reciting a series of steps. The Fujitsu, Warner-Lambert, and Vita-

 Mix cases on which Defendant’s relies do not apply because all of them involved method claims,4


 4
  Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1326 (Fed. Cir. 2010) (“The only independent claim
 describes a method for segmenting and transmitting a message.”); Warner-Lambert Co. v. Apotex



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  which require performance of each method step to show direct infringement. NTP, Inc. v.

  Research in Motion, Ltd., 418 F.3d 1282, 1318 (Fed. Cir. 2005). Direct infringement of TQ Delta’s

  claims instead requires putting into service a device “capable of,”5 “configurable to,”6 or “operable

  to”7 to provide certain functionality. Centillion, 631 F.3d at 1284 (“[D]irect infringement by ‘use’

  of a system claim ‘requires a party . . . to use each and every . . . element of a claimed [system].’”).

          Defendant rewrites this language out of the claims when it asserts that TQ Delta must show

  that the products were actually providing DSL service. The law does not require that.8

          The ACCO Brands case that Defendant’s cite is not the contrary. There, the claim required

  a locking system that contained a specific “pin,” “security slot,” and “slot engagement member”

  structure: the “pin” must “extend through the security slot after the slot engagement member is

  rotated to its locked position, thus prohibiting rotation into its unlocked position.” ACCO Brands,

  Inc. v. ABA Locks Mfr. Co., 501 F.3d 1307, 1310 (Fed. Cir. 2007). The accused product in ACCO



  Corp., 316 F.3d 1348, 1363 (Fed. Cir. 2003) (“[W]e note that there is no evidence in the record
  that Apotex has directly practiced or will ever practice any of the methods claimed in the
  neurodegenerative method patent, all of which are directed to a method for treating
  neurodegenerative diseases by administering gabapentin or another cyclic amino acid compound
  to a mammal.”); Vita-Mix Corp. v. Basic Holding, Inc., 581 F.3d 1317, 1329 (Fed. Cir. 2009) (“It
  is undisputedly possible to use the accused device as directed without ever practicing the claimed
  method.”).
  5
    E.g., ’048 Patent (Dkt. 1-5) at claim 5; ’008 Patent (Dkt. 1-4) at claim 14; ’411 Patent (Dkt. 1-7)
  at claims 11 and 14; ’809 Patent (Dkt. 1-13) at claim 13).
  6
   E.g., ’835 Patent (Dkt. 1-6) at claim 10. The Court construed “configurable to” as “able to be
  configured.” Dkt. 169 at 23.
  7
   E.g., ’354 Patent (Dkt. 1-10) at claim 10. The Court construed “operable to” as “configured to.”
  Dkt. 169 at 23.
  8
   Indeed, Defendants represented at the Markman hearing that “they will not argue that Plaintiff
  must prove that the accused devices are taken out of their packaging, plugged in, and turned on,
  but Defendants explained that they are arguing that the functionality must actually be built into the
  device.” Dkt. 169 at 17.


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  Brands “could essentially be operated in two ways” to manipulate the lock’s structure, one that

  met the specific “pin” structure (and thus infringed) and one that did not meet the “pin” structure

  (and thus did not infringe). Id. at 1310–1311. The only evidence of the infringing “pin” structure

  ever being completed was the patentee’s expert’s use of the lock; the defendant’s customer

  materials only directed customers to implement the noninfringing structure. Id. at 1313. Because

  the patentee failed to show (1) specific instances in which customers used the infringing structure

  or (2) or that the accused device necessarily infringed the patent, the Court concluded that the

  patentee failed to prove induced infringement as a matter of law. Id.

         This case is not ACCO Brands. Defendant’s Motion does not contest that the accused

  products meet the elements of the asserted claims, e.g., they are “capable of,” “configurable to,”

  and “operable to” perform the functionality of the asserted claims. There is thus no “noninfringing

  mode” of the accused products as there was in ACCO Brands. There are instead (1) specific

  instances of direct infringement (e.g., the pre-August 13, 2015 devices that remained in the field

  after that date) and (2) it is the case that the accused products necessarily infringe given that they

  have the claimed DSL functionality programmed into the device. Cf. Fujitsu, 620 F.3d at 1329

  (“Unless the claim language only requires the capacity to perform a particular claim element, we

  have held that it is not enough to simply show that a product is capable of infringement . . . .”).

         The Facts. Even if Defendant is correct that direct infringement requires proof that the

  products were providing DSL service, there is substantial evidence of that fact. These products

  were largely designed for AT&T to provide DSL service. Defendant calls the products

  products and lists         in the model number (COMMSCOPE016571 (Exh. 2) at 1).




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                                                                            . Cooklev Opening Report

  (Exh. 6) at ¶¶ 649–652, 852, 885 (collecting                 evidence).9 Defendant’s witnesses relied

  on            DSL requirements to testify about how            actually uses Defendant’s products in

  the field. See, e.g., Wauters Depo. (Exh. 3) at 105:19–106:8 (“




                                                                                             ”); Baker

  Depo. (Exh. 1) at 29:17–20 (“

                                                                     .”).

            From this evidence, a reasonable jury could conclude that the pre-August 13, 2015 accused

  products—which were                                               and are called DSL products—were

  used for DSL service after that date. Indeed, according to Defendant’s witness, a large portion of

             network is served by DSL. Wauters Depo. (Exh. 3) at 49:25–51:14.

            While Defendant now claims that some10 devices could be used for non-DSL services only

  (i.e., a WiFi router connected to a fiber optic connection), Mot. 8–9, its Motion does not identify

  a single pre-August 13, 2015 product deployed that way. Defendant’s witness was also unable to

  indicate how many devices—whether the pre-August 13, 2015 models or others—have actually

  been used as WiFi-only routers in a fiber optic connection (Wauters Depo. (Exh. 3) at 102:1–5):


  9
      See also Wauters Depo. (Exh. 3) at 61:24–62:21 (

                                                         ”).
  10
       Defendant does not allege that the 5031 product is fiber-optic capable. See Mot. at SUMF #5.


                                                    9
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           The evidence, however, shows that it was unlikely that Defendant’s customers would

  repurpose the pre-August 13, 2015 products in this fashion—it would make little sense to connect

  a slow, obsolete DSL WiFi router to a fast fiberoptic service.11 The more likely use, based on the

  evidence, is that Defendant’s customers would continue to use the products for DSL service,

  though perhaps for a slower, lower-tier service. For example, Defendant’s



                         COMMSCOPE016571 (Exh. 2).           Defendant’s witness explained that




           Moreover, Defendant’s documents show that its products continued



  11
       The products became obsolete, in part, due to




                                                  10
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          . For example, the same             presentation discussed above in connection with the



                      . COMMSCOPE068829 (Exh. 4) at 11. Another presentation from the same

               period also shows that                                                             .

  COMMSCOPE068652 (Exh. 7) at 12. That presentation contains




                                                 Id. (highlighting added, image truncated).




         These are DSL service parameters—and the document does not discuss using DSL

  products as WiFi routers connected to a fiber optic service. A DSLAM line-card, as Defendant’s

  witness explained, refers to DSL equipment:



                                                                          Baker Depo. (Exh. 1) at

  59:19–24; see also Cooklev Report (Exh. 6) at ¶ 279 (discussing DSLAM).

         Similarly, “loop length” and “service profile” refers to DSL service—the length of the

  telephone wire “loop” and the type of VDSL2 profile, respectively. These facts are reflected in

  the VDSL2 testing of Defendant’s product that TQ Delta’s technical expert (Dr. Cooklev) directed,


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  showing a 500-meter loop and a VDSL2 profile known as 17a (Cooklev Report at pp. 849 and

  831) (highlighting added, images truncated).




                                   *       *      *       *       *

         In sum, there is sufficient evidence of direct infringement by Defendant’s customers.

         B.      There Is Sufficient Evidence Of Defendant’s Indirect Infringement

         There is also sufficient evidence of indirect infringement during the damages period. Dr.

  Cooklev recounts much of that evidence in his expert report, including installation and

  administrative guides, customer training, services and support, software upgrades, firmware

  updates, and working with customers such as AT&T on the accused products. Cooklev Report

  (Exh. 6) at ¶¶ 1257–1265. This is the type of evidence that courts have found sufficient. The

  Federal Circuit has “affirmed induced infringement verdicts based on circumstantial evidence of

  inducement (e.g., advertisements, user manuals) directed to a class of direct infringers (e.g.,

  customers, end users) without requiring hard proof that any individual third-party direct infringer

  was actually persuaded to infringe by that material.” Power Integrations, Inc. v. Fairchild

  Semiconductor Int’l, Inc., 843 F.3d 1315, 1335 (Fed. Cir. 2016) (collecting authority). And

  Defendant is not even challenging this evidence as it relates to TQ Delta’s inducement claims for

  products sold after August 13, 2015.


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         Defendant instead argues that TQ Delta’s inducement theory for pre-August 13, 2015 sales

  is barred by Roche and Standard Oil. Mot at 4–5, 10. In those cases, however, all alleged acts of

  indirect infringement occurred prior to the damages period:12 “In Roche, the Federal Circuit

  reversed the jury’s verdict of induced infringement where all of the acts of inducement occurred

  before the damages period began to run.” Sysmex Corp., 2022 U.S. Dist. LEXIS 97623, at *34

  n.11 (D. Del. May 26, 2022). But when a party “seeks damages for acts of inducement that

  occurred after the damages period began to run,” that authority does not apply. Id.

         This case is similar to Sysmex. There, the patentee asserted that the defendant “indirectly

  infringes the asserted patents with respect to the installed base (i.e., equipment that may have been

  itself sold prior to patent issuance)” as a result of the defendant’s post-issuance activities, such as

  “providing training and instruction manuals to customers[.]” Sysmex, 2022 U.S. Dist. LEXIS

  97623, at *30. That is analogous to TQ Delta’s theory here: TQ Delta seeks to recover damages

  with respect to the products sold prior to August 13, 2015 (the “Installed Base”) based on

  Defendant’s activity after August 13, 2015, including providing training and instruction manuals

  to customers, firmware update, and repairs.

         Like Defendant here, the Sysmex defendant argued at summary judgment that Roche

  ‘“directly supports’ its argument that it cannot infringe the asserted patents based on its activity

  associated with the installed base.” 2022 U.S. Dist. LEXIS 97623, at *34 n.11. The Court

  disagreed because, unlike Roche, the patentee sought damages for “acts of inducement that

  occurred after the damages period began to run.” Id. The same reasoning applies here.

         There is significant evidence of indirect infringement that occurred after August 13, 2015.



  12
    Standard Oil Co. v. Nippon Shokubai Kagaku Kogyo Co., 754 F.2d 345, 347 (Fed. Cir. 1985);
  Roche Diagnostics Corp. v. Meso Scale Diagnostics, LLC, 30 F.4th 1109, 1120 (Fed. Cir. 2022).


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  In addition to the evidence reproduced above, for example, Defendant

                                                                         . Wauters Depo. (Exh. 3) at

  25:11–27:23, 33:6–14 (discussing weekly meetings               T); id. at 72:18–73:8 (testifying that

  CommScope’s Senior VP of Key Account Management for North America attended more than

  five meetings with

                ); COMMSCOPE068829 (Exh. 4) (“

       ” presentation).

         Defendant provided

                                                                . See, e.g., Baker Depo. (Exh. 1) at

  60:22–65:16 (                                                                               ); id. at

  64:2–19 (                                                               ); Salazar Depo. (Exh. 8) at

  42:15–43:21 (

                                                               COMMSCOPE016571 (Exh. 2) at 2

  (                                                 )



                                          ); (COMMSCOPE068829 (Exh. 4) at 25 (

                                                             ); COMMSCOPE068964 (Exh. 9) at 4

  (                                                                                          ). These

  acts induced Defendant’s customers to use the products (a violation under Section 271(b)) as well

  as contributed to infringement by providing the DSL software and hardware components that

  resulted in an infringing device (a violation under Section 271(c)).

         Defendant claims that this evidence is insufficient to show intent that the product

  subsequently provides DSL service. Mot. at 5, 9, 10–11. That is incorrect for two reasons. First,




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  as detailed above, the Defendant’s customers’ deployment of the products—whether actively

  providing DSL service or not—is an infringing use. There is thus sufficient evidence that

  Defendant specifically intends its customers to deploy Defendant’s products in response to

  Defendant’s actions, such as deploying products receiving a software update or a repaired product.

         But even if Defendant is correct that a specific intent to activate a DSL service is required,

  the record contains that proof as well. For example, Defendant’s documents show that,




               COMMSCOPE068529 (Exh. 10) at 29. Fixing those problems and encouraging the

  customer to deploy the repaired product is evidence that Defendant specifically intended its

  customer activate the DSL functionality in that product. As another example, Defendant’s

  software   releases   around    the   same    period   added

  COMMSCOPE068964 (Exh. 9) at 6, 8, 9.                    is a DSL functionality (it uses seamless rate

  adaptation in VDSL2). Cooklev Report (Exh. 6) at ¶¶ 784–785. Adding that feature to a software

  update and then deploying it to Defendant’s customers similarly shows a specific intent for the

  customers to activate the DSL functionality in the software release.

         This evidence, in total, shows that there is at least a genuine issue of material fact regarding

  Defendant’s indirect infringement for products sold prior to August 13, 2015 and then used after

  that date. As a result, TQ Delta respectfully requests that the Court allow TQ Delta to present its

  full indirect infringement case to the jury and deny Defendant’s Motion.

  VI.    CONCLUSION

         For the foregoing reasons, TQ Delta requests that the Court deny Defendant’s Motion.




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  Dated: January 6, 2023
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                                 CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document and all attachments thereto are

  being filed electronically in compliance with Local Rule CV-5(a). As such, this document is

  being served this January 6, 2023 on all counsel of record, each of whom is deemed to have

  consented to electronic service. L.R. CV-5(a)(3)(A).

                                                      /s/ Christian Hurt___________________
                                                      Christian Hurt




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